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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS


 ALLEN GARLAND, individually,                       Case No. 3:20-cv-00269-RJD

 Plaintiff,

 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

 Defendant.




                                 NOTICE OF APPEARANCE

        Comes now attorney Richard M. Elias of the law firm Elias LLC and enters his

appearance on behalf of Plaintiff Allen Garland in this matter.




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Dated: March 17, 2020              Respectfully submitted,



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